
882 S.W.2d 290 (1994)
In the Interest of L.W., L.W., L.T., Plaintiffs.
Lupe J. TOLL, Respondent,
v.
Alfred R. TOLL, Appellant.
Nos. WD 47759, WD 47760, WD 48506 and WD 48507.
Missouri Court of Appeals, Western District.
July 12, 1994.
Motion for Rehearing and/or Transfer Denied August 30, 1994.
Paul D. Blackman, Kansas City, for appellant.
Linda H. Petry, Gladstone, for respondent.
Before SMART, P.J., and KENNEDY and ULRICH, JJ.
Motion for Rehearing and/or Transfer to Supreme Court Denied August 30, 1994.
PER CURIAM.
Alfred Toll appeals from an order of protection granted to his wife, Lupe Toll, section 455.010, et seq., RSMo Supp.1992, and from an order of protection granted to his daughter and two step-daughters, section 455.500, et seq., RSMo Supp.1992.
During the pendency of this appeal, the protection orders expired and were no longer in effect when the case was submitted. The case is therefore moot. See K.E.B. et al. v. H.G.B., 782 S.W.2d 85, 86 (Mo.App.1989).
We in our discretion decide moot appeals "where an issue of public importance promises *291 to recur, yet will evade decision, unless the court accedes to adjudicate. (citations omitted). The question becomes whether the appeal puts at stake some legal principle on a public question not previously ruled." Grogan v. Hays, 639 S.W.2d 875, 879 (Mo.App.1982).
This appeal presents no issue of public importance which has not been decided. The issue is the sufficiency of the evidence to support the trial court's orders. The vindication of Alfred Toll is not of sufficient gravity, from a public standpoint, to cause us to waive the mootness of the appeal.
Appeal dismissed.
